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     Aparna Yenamandra, P.C. (admitted pro hac vice)          Seth Van Aalten, Esq. (admitted pro hac vice)
     Ross J. Fiedler (admitted pro hac vice)                  Court Plaza North, 25 Main Street
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                                                              Debtors in Possession

     Co-Counsel to the Debtors and
     Debtors in Possession


                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEW JERSEY


 In re:                                                        Chapter 11

 RITE AID CORPORATION, et al.,                                 Case No. 23-18993 (MBK)

                                      Debtors.1                (Jointly Administered)



                                NOTICE OF ASSUMPTION AND
                         ASSIGNMENT OF CERTAIN UNEXPIRED LEASES

 PARTIES RECEIVING THIS NOTICE SHOULD LOCATE THEIR NAMES AND THEIR
 CONTRACTS OR LEASES ON SCHEDULE 1 ATTACHED HERETO AND READ THE
 CONTENTS OF THIS NOTICE CAREFULLY.




 1     The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
       Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
       website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid.
       The location of Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in
       these chapter 11 cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
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         PLEASE TAKE NOTICE that on November 20, 2023, the United States Bankruptcy

 Court for the District of New Jersey (the “Court”) entered an order on the motion (the “Motion”)2

 of debtors and debtors in possession (the “Debtors”) (i) authorizing and approving procedures to

 reject, assume, or assume and assign executory contracts and unexpired leases and (ii) granting

 related relief [Docket No. 702] (the “Procedures Order”).

         PLEASE TAKE FURTHER NOTICE that, pursuant to the Procedures Order and by this

 written notice (this “Assumption Notice”), the Debtors hereby notify you that they have

 determined, in the exercise of their business judgment, that the Contracts set forth on Schedule 1

 attached hereto are hereby assumed and assigned, as applicable, effective as of the date

 (the “Assumption Date”) set forth on Schedule 1, or such other date as the Debtors and the

 counterparty or counterparties to any such Contract agree.

         PLEASE TAKE FURTHER NOTICE that on April 30, 2024, the Court entered the

 Order (I) Approving the Debtors’ Entry into the Sale Agreements, (II) Authorizing the Private Sale

 of Certain Real Property Pursuant to the Sale Agreements, Free and Clear of All Liens, Claims,

 Encumbrances, and Interests, and (III) Granting Related Relief [Docket No. 3288] and the Order

 (I) Approving the Debtors’ Entry into the Sale Agreements, (II) Authorizing the Private Sale of

 Certain Real Property Pursuant to the Sale Agreements, Free and Clear of All Liens, Claims,

 Encumbrances, and Interests, and (III) Granting Related Relief [Docket No. 3289] (together,

 the “Sale Orders”) authorizing the Debtors, pursuant to section 363 of the Bankruptcy Code, to

 sell the properties related to the Contracts listed on Schedule 1.

         PLEASE TAKE FURTHER NOTICE that each Assignee has the financial wherewithal

 to meet all future obligations under the applicable Contract, thereby demonstrating that such


 2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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 Assignee has the ability to comply with the requirements of adequate assurance of future

 performance. Evidence of such adequate assurance of future performance is included with this

 Assumption Notice.

        PLEASE TAKE FURTHER NOTICE that parties seeking to object to the proposed

 assumption or assumption and assignment of any of the Contracts must file and serve a written

 objection so that such objection is filed with the Court on the docket of the Debtors’ chapter 11

 cases and is actually received by the following parties no later than ten days after the date that the

 Debtors filed and served this Notice: (a) the Debtors, Rite Aid Corporation, 1200 Intrepid Avenue,

 2nd Floor, Philadelphia, Pennsylvania 19112; (b) counsel to the Debtors, Kirkland & Ellis LLP,

 601 Lexington Avenue, New York, New York 10022, Attn: Joshua A. Sussberg, P.C., Aparna

 Yenamandra, P.C., Ross J. Fiedler, and Zachary R. Manning; (c) co-counsel to the Debtors, Cole

 Schotz P.C., Court Plaza North, 25 Main Street; Hackensack, New Jersey 07601, Attn: Michael

 D. Sirota, Felice R. Yudkin, and Seth Van Aalten; (d) the applicable Assumption Counterparty;

 (e) counsel to the Ad Hoc Secured Noteholder Group, Paul, Weiss, Rifkind, Wharton & Garrison

 LLP, 1285 Avenue of the Americas, New York, New York 1001 Attn.: Andrew N. Rosenberg

 (arosenberg@paulweiss.com), Brian S. Hermann (bhermann@paulweiss.com) and Christopher

 Hopkins (chopkins@paulweiss.com); (f) counsel to the Ad Hoc Secured Noteholder Group, Fox

 Rothschild LLP, 49 Market Street, Morristown, New Jersey, 07960, Attn: Howard A. Cohen

 (hcohen@foxrothschild.com); Joseph J. DiPasquale (jdipasquale@foxrothschild.com) and

 Michael R. Herz (mherz@foxrothschild.com); (g) counsel to the DIP Agents, Choate, Hall &

 Stewart LLP, Two International Place, Boston, MA 02110, Attn:                     John F. Ventola

 (jventola@choate.com); Jonathan D. Marshall (jmarshall@choate.com); and Mark D. Silva

 (msilva@choate.com) and Greenberg Traurig, LLP, 500 Campus Drive, Suite 400, Florham Park,
Case 23-18993-MBK           Doc 3336 Filed 05/03/24 Entered 05/03/24 20:52:41                 Desc Main
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 New Jersey 07932, Attn:             Alan J. Brody (brodya@gtlaw.com) and Oscar N. Pinkas

 (pinkaso@gtlaw.com) (h) the Office of the United States Trustee for the District of New Jersey,

 One Newark Center, 1085 Raymond Boulevard, suite 2100, Newark, New Jersey 07102, Attn:

 Jeffrey      M.         Sponder     (jeffrey.m.sponder@usdoj.gov)         and    Lauren        Bielskie

 (lauren.bielskie@usdoj.gov); (i) counsel to the Official Committee of Unsecured Creditors,

 Kramer Levin Naftalis & Frankel LLP, 1177 Avenue of the Americas, New York, New York

 10036,      Attn:         Adam     Rogoff      (ARogoff@kramerlevin.com)        and    Nancy     Bello

 (nbello@kramerlevin.com) and Kelley Drye & Warren LLP, One Jefferson Road, 2nd Floor,

 Parsippany, NJ 07054, Attn:          Robert LeHane (rlehane@kelleydrye.com) and Connie Choe

 (cchoe@kelleydrye.com); (j) counsel to the Official Committee of Tort Claimants, Akin Gump

 Strauss Hauer & Feld LLP, One Bryant Park, New York, New York 10036, Attn: Arik Preis

 (apreis@akingump.com), Mitchell P. Hurley (mhurley@akingump.com), Kate Doorley

 (kdoorley@akingump.com), Theodore James Salwen (jsalwen@akingump.com), and Brooks

 Barker (bbarker@akingump.com); (k) Sherman, Silverstein, Kohl, Rose & Podolsky, P.A., 457

 Haddonfield       Rd.    #300,    Cherry    Hill,   NJ   08002,   Attn;     Arthur    J.   Abramowitz

 (aabramowitz@shermansilverstein.com) and Ross Switkes (rswitkes@shermansilverstein.com);

 and (l) the applicable Assignee.

           PLEASE TAKE FURTHER NOTICE that, absent an objection being timely filed the

 Debtors shall file an Assumption Order under a certificate of no objection. The Contracts shall be

 assumed and assigned as of the Assumption Date set forth on Schedule 1 or such other date as the

 Debtors and the Assumption Counterparties agree and the proposed cure amount shall be binding
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 on all counterparties to such Contract and no amount in excess thereof shall be paid for cure

 purposes.3

         PLEASE TAKE FURTHER NOTICE that, the proposed cure amount under the

 Contracts are set forth on Schedule 1. If a written objection to the proposed cure amount is not

 timely filed, then the cure amount shall be binding on all parties and no amount in excess thereof

 shall be paid for cure purposes.

         PLEASE TAKE FURTHER NOTICE that if an objection to the assumption and

 assignment of any Contract is timely filed and not withdrawn or resolved, the Debtors shall file a

 notice for a hearing to consider the objection for the Contract or Contracts to which such objection

 relates. Such Contract will only be deemed assumed and assigned upon entry by the Court of a

 consensual form of Assumption Order resolving the objection as between the objecting party and

 the Debtors or, if resolution is not reached and/or the objection is not withdrawn, upon further

 order of the Court and shall be assumed and assigned as of the applicable Assumption Date set

 forth in Schedule 1 or such other date to which the applicable Assumption Counterparty agree, or

 as ordered by the Court.




 3   An objection to the assumption and/or assignment of any particular Contract or cure amount listed in this
     Assumption Notice shall not constitute an objection to the assumption and/or assignment of any other contract or
     lease listed in this Assumption Notice. Any objection to the assumption and/or assignment of any particular
     Contract or cure amount listed in this Assumption Notice must state with specificity the Contract to which it is
     directed. For each particular Contract whose assumption and/or assignment is not timely or properly objected to,
     such assumption and/or assignment will be effective in accordance with this Assumption Notice and the
     Procedures Order.
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Dated: May 3, 2024
                                      /s/ Michael D. Sirota
                                      COLE SCHOTZ P.C.
                                      Michael D. Sirota, Esq.
                                      Warren A. Usatine, Esq.
                                      Felice R. Yudkin, Esq.
                                      Seth Van Aalten, Esq. (admitted pro hac vice)
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                                                  fyudkin@coleschotz.com
                                                  svanaalten@coleschotz.com

                                      KIRKLAND & ELLIS LLP
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                                      Edward O. Sassower, P.C.
                                      Joshua A. Sussberg, P.C. (admitted pro hac vice)
                                      Aparna Yenamandra, P.C. (admitted pro hac vice)
                                      Ross J. Fiedler (admitted pro hac vice)
                                      Zachary R. Manning (admitted pro hac vice)
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                                                    aparna.yenamandra@kirkland.com
                                                    ross.fiedler@kirkland.com
                                                    zach.manning@kirkland.com

                                      Co-Counsel to the Debtors and
                                      Debtors in Possession
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                                                                            Schedule 1

                                                                      Assumed Contracts


      Assumption                Debtor          Store                                 Description of           Cure             Assumption
                                                              Store Address                                                                            Assignee
     Counterparty               Party          Number                                  Contract1              Amount               Date

                                                               1600 North                                                      Closing Date      Legacy
     Gracie Barra              Thrifty
                                                  5412         Main Street,          Unexpired Lease              $0          under applicable Commercial
     Meridian LLC            Payless, Inc.
                                                               Meridian, ID                                                     Sale Order     Group LLC
      Events Done
                       Rite Aid of                            501 South 29th                                                   Closing Date      Legacy
       Bright aka
                      Pennsylvania,                866        Street, Suite A,       Unexpired Lease              $0          under applicable Commercial
      Northern Sky
                          LLC                                 Harrisburg, PA                                                    Sale Order     Group LLC
        Lighting
     Domino's Pizza
    #4860 - aka PB&J Rite Aid of                              501 South 29th                                                   Closing Date      Legacy
       Pizza- aka     Pennsylvania,                866        Street, Suite A,       Unexpired Lease              $0          under applicable Commercial
    Assignor: Capital     LLC                                 Harrisburg, PA                                                    Sale Order     Group LLC
      Projects, Inc.
                       Rite Aid of                            501 South 29th                                                   Closing Date      Legacy
     Lewis Brothers,
                      Pennsylvania,                866        Street, Suite A,       Unexpired Lease              $0          under applicable Commercial
           Inc.
                          LLC                                 Harrisburg, PA                                                    Sale Order     Group LLC
                                                                                                                                                 Greater
                                                                                                                                                  New
     King of Kings                                             824 Purchase                                                    Closing Date
                             Maxi Drug,                                                                                                         Bedford
    Christian Church,                            10205          Street, New          Unexpired Lease              $0          under applicable
                               Inc.                                                                                                            Community
           Inc.                                                Bedford, MA                                                      Sale Order
                                                                                                                                                 Health
                                                                                                                                               Center, Inc.



1     The inclusion of a Contract on this list does not constitute an admission as to the executory or non-executory nature of the Contract, or as to the existence or
      validity of any claims held by the counterparty or counterparties to such Contract.
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  Assumption        Debtor       Store                   Description of     Cure      Assumption
                                         Store Address                                                  Assignee
 Counterparty       Party       Number                    Contract1        Amount        Date

                                                                                                        Greater
                                                                                                          New
                                         824 Purchase                                Closing Date
   My City         Maxi Drug,                                                                           Bedford
                                10205     Street, New    Unexpired Lease     $0     under applicable
 Nutrition, Inc.     Inc.                                                                              Community
                                         Bedford, MA                                  Sale Order
                                                                                                         Health
                                                                                                       Center, Inc.
                                                                                                        Greater
                                                                                                          New
                                         824 Purchase                                Closing Date
Backstage Dance    Maxi Drug,                                                                           Bedford
                                10205     Street, New    Unexpired Lease     $0     under applicable
   Academy           Inc.                                                                              Community
                                         Bedford, MA                                  Sale Order
                                                                                                         Health
                                                                                                       Center, Inc.
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                                    Exhibit 1

                           Proposed Assumption Order
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 Caption in Compliance with D.N.J. LBR 9004-1(b)
     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     In re:                                                             Chapter 11

     RITE AID CORPORATION, et al.,                                      Case No. 23-18993 (MBK)

                                        Debtors.1                       (Jointly Administered)



                            ORDER APPROVING THE ASSUMPTION
                       AND ASSIGNMENT OF CERTAIN UNEXPIRED LEASES

              The relief set forth on the following pages, numbered three (3) through six (6), is

 ORDERED.




 1      The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
        Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
        website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid.
        The location of Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in
        these chapter 11 cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
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 Caption in Compliance with D.N.J. LBR 9004-1(b)
 KIRKLAND & ELLIS LLP
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 Aparna Yenamandra, P.C. (admitted pro hac vice)
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 (Page |3)
 Debtors:             RITE AID CORPORATION, et al.
 Case No.             23-18993-MBK
 Caption of Order:    Order Approving the Assumption and Assignment of Certain Unexpired
                      Leases
         Upon the Order (I) Authorizing and Approving Procedures to Reject or Assume Executory

 Contracts and Unexpired Leases and (II) Granting Related Relief (the “Procedures Order”)1

 [Docket No. 702] of the above-captioned debtors and debtors in possession (collectively,

 the “Debtors”); and the Court having jurisdiction over this matter and the relief requested therein

 pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference to the Bankruptcy

 Court Under Title 11 of the United States District Court for the District of New Jersey, entered

 July 23, 1984, and amended on September 18, 2012 (Simandle, C.J.); and this Court having found

 that venue of this proceeding and the matter in this district is proper pursuant to 28 U.S.C. §§ 1408

 and 1409; and the Debtors having properly filed and served an Assumption Notice on each

 applicable party as set forth in the Assumption Schedule, attached hereto as Exhibit 1, in

 accordance with the terms of the Procedures Order; and no timely objections having been filed to

 the assumption or assumption and assignment of such Contracts; and due and proper notice of the

 Procedures Order and the Assumption Notice having been provided to each applicable Assumption

 Counterparty as set forth in the Assumption Schedule and it appearing that no other notice need

 be provided; and after due deliberation and sufficient cause appearing therefor, IT IS HEREBY

 ORDERED THAT:

         1.       The Debtors are authorized to assume or assume and assign the Contracts listed on

 Exhibit 1. The Contracts, as amended with the prior consent and written agreement of the

 applicable Assumption Counterparty if applicable, are hereby deemed to be assumed or assumed

 and assigned by the Debtors pursuant to section 365(a) of the Bankruptcy Code.




 1   Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Procedures Order.
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 Debtors:              RITE AID CORPORATION, et al.
 Case No.              23-18993-MBK
 Caption of Order:     Order Approving the Assumption and Assignment of Certain Unexpired
                       Leases
        2.      Pursuant to sections 105(a) and 363(f) of the Bankruptcy Code, the assignment of

 the Contracts listed on Exhibit 1 shall: (a) be free and clear of (i) all liens (and any liens shall

 attach to the proceeds of such assignment in the same order and priority subject to all existing

 defenses, claims, setoffs, and rights) and (ii) any and all claims (as that term is defined in section

 101(5) of the Bankruptcy Code), obligations, demands, guarantees of or by the Debtors, debts,

 rights, contractual commitments, restrictions, interests, transfer taxes, and matters of any kind and

 nature, whether arising prior to or subsequent to the commencement of these chapter 11 cases, and

 whether imposed by agreement, understanding, law, equity, or otherwise (including, without

 limitation, claims, and encumbrances that purport to give to any party a right or option to effect

 any forfeiture, modification, or termination of the interest of any Debtor or Assignee, as the case

 may be, in the Contract(s) (but only in connection with the assignment by the Debtor to the

 Assignee)); and (b) constitute a legal, valid, and effective transfer of such Contract(s) and vest the

 applicable Assignee with all rights, titles, and interests to the applicable Contract(s). For the

 avoidance of doubt, all provisions of the applicable assigned Contract, including any provision

 limiting assignment, shall be binding on the applicable Assignee.

        3.      Subject to the other provisions of this Order, the Debtors are hereby authorized in

 accordance with sections 365(b) and (f) of the Bankruptcy Code to (a) assume and assign to any

 Assignee the applicable Contracts with any applicable Assignee being responsible only for the

 post-assignment liabilities or defaults under the applicable Contracts except as otherwise provided

 for in this Order and (b) execute and deliver to any applicable Assignee such assignment

 documents as may be reasonably necessary to sell, assign, and transfer any such Contract.
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 Debtors:             RITE AID CORPORATION, et al.
 Case No.             23-18993-MBK
 Caption of Order:    Order Approving the Assumption and Assignment of Certain Unexpired
                      Leases
        4.      The Assignees shall have no liability or obligation with respect to defaults relating

 to the applicable assigned Contracts arising, accruing, or relating to a period prior to the applicable

 Assumption Date except as otherwise agreed to between the Assignee and the Debtors.

        5.      The Debtors are hereby authorized, pursuant to section 363(b) of the Bankruptcy

 Code, to enter into the consensual amendments as set forth in the Assumption Notice.

        6.      The Debtors are authorized to execute and deliver all instruments and documents

 and take all additional actions necessary to effectuate the relief granted in this Order and the

 assumption without further order from this Court.

        7.      For the avoidance of doubt, with respect to an unexpired lease of nonresidential real

 property, such lease assumption or assumption and assignment shall not be free and clear of, and

 instead shall be subject to: (a) amounts that are unbilled or not yet due as of the Assumption Date,

 regardless of when such amounts accrued, such as common area maintenance, insurance, taxes,

 and similar charges; (b) any regular or periodic adjustment or reconciliation of charges that are not

 due or have not been determined as of the Assumption Date; (c) any percentage rent that may come

 due; (d) indemnification obligations; (e) any unpaid cure amount, calculated in accordance with

 the terms of any applicable amendment or other agreement of the Parties; and (f) agreements that

 run with the land such as REAs and COREAs; provided, however, that Assignee shall not be

 responsible for any indemnification obligations in connection with actions or omissions of the

 Debtor that occurred prior to the Closing Date.

        8.      The 14-day stay required of any assignment of any Contract pursuant to Bankruptcy

 Rule 6006(d) is hereby waived.

        9.      To the extent that there is any conflict between this Order and either the Order
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 (Page |6)
 Debtors:             RITE AID CORPORATION, et al.
 Case No.             23-18993-MBK
 Caption of Order:    Order Approving the Assumption and Assignment of Certain Unexpired
                      Leases
 (I) Approving the Debtors’ Entry into the Sale Agreements, (II) Authorizing the Private Sale of

 Certain Real Property Pursuant to the Sale Agreements, Free and Clear of All Liens, Claims,

 Encumbrances, and Interests, and (III) Granting Related Relief [Docket No. 3288] or the Order

 (I) Approving the Debtors’ Entry into the Sale Agreements, (II) Authorizing the Private Sale of

 Certain Real Property Pursuant to the Sale Agreements, Free and Clear of All Liens, Claims,

 Encumbrances, and Interests, and (III) Granting Related Relief [Docket No. 3289] (each, a “Sale

 Order”), the applicable Sale Order shall control.

        10.     This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.
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                                    Exhibit 1

                              Assumption Schedule
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                                                                      Assumed Contracts


      Assumption                Debtor          Store                                 Description of           Cure             Assumption
                                                              Store Address                                                                            Assignee
     Counterparty               Party          Number                                  Contract1              Amount               Date

                                                               1600 North                                                      Closing Date      Legacy
     Gracie Barra              Thrifty
                                                  5412         Main Street,          Unexpired Lease              $0          under applicable Commercial
     Meridian LLC            Payless, Inc.
                                                               Meridian, ID                                                     Sale Order     Group LLC
      Events Done
                       Rite Aid of                            501 South 29th                                                   Closing Date      Legacy
       Bright aka
                      Pennsylvania,                866        Street, Suite A,       Unexpired Lease              $0          under applicable Commercial
      Northern Sky
                          LLC                                 Harrisburg, PA                                                    Sale Order     Group LLC
        Lighting
     Domino's Pizza
    #4860 - aka PB&J Rite Aid of                              501 South 29th                                                   Closing Date      Legacy
       Pizza- aka     Pennsylvania,                866        Street, Suite A,       Unexpired Lease              $0          under applicable Commercial
    Assignor: Capital     LLC                                 Harrisburg, PA                                                    Sale Order     Group LLC
      Projects, Inc.

                             Rite Aid of                      501 South 29th                                                   Closing Date      Legacy
     Lewis Brothers,
                            Pennsylvania,          866        Street, Suite A,       Unexpired Lease              $0          under applicable Commercial
          Inc.
                                LLC                           Harrisburg, PA                                                    Sale Order     Group LLC

                                                                                                                                                      Greater
                                                                                                                                                        New
     King of Kings                                             824 Purchase                                                    Closing Date
                             Maxi Drug,                                                                                                               Bedford
    Christian Church,                            10205          Street, New          Unexpired Lease              $0          under applicable
                               Inc.                                                                                                                  Community
           Inc.                                                Bedford, MA                                                      Sale Order
                                                                                                                                                       Health
                                                                                                                                                     Center, Inc.


1     The inclusion of a Contract on this list does not constitute an admission as to the executory or non-executory nature of the Contract, or as to the existence or
      validity of any claims held by the counterparty or counterparties to such Contract.
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  Assumption        Debtor       Store                   Description of     Cure      Assumption
                                         Store Address                                                  Assignee
 Counterparty       Party       Number                    Contract1        Amount        Date

                                                                                                        Greater
                                                                                                          New
                                         824 Purchase                                Closing Date
   My City         Maxi Drug,                                                                           Bedford
                                10205     Street, New    Unexpired Lease     $0     under applicable
 Nutrition, Inc.     Inc.                                                                              Community
                                         Bedford, MA                                  Sale Order
                                                                                                         Health
                                                                                                       Center, Inc.
                                                                                                        Greater
                                                                                                          New
                                         824 Purchase                                Closing Date
Backstage Dance    Maxi Drug,                                                                           Bedford
                                10205     Street, New    Unexpired Lease     $0     under applicable
   Academy           Inc.                                                                              Community
                                         Bedford, MA                                  Sale Order
                                                                                                         Health
                                                                                                       Center, Inc.
